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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE,                              No.: 1:14-cv-000958-RMC

              Plaintiff,

       vs.


NATIONAL INDIAN GAMING
COMMISSION, et al.,

              Defendants.




                                      PROPOSED ORDER

       This matter is before the Court on Plaintiff’s Consent Motion for an Extension of Time (ECF

No. 116). The Court, having been fully advised hereby GRANTS the Motion and ORDERS as

follows:
       Federal Defendants’ Response to Plaintiffs’ Motion for Summary Judgment and Cross-
       Motion for Summary Judgment shall be filed on or before June 19, 2019;

       Plaintiffs’ Response to Federal Defendants’ Cross-Motion and Reply in Support of Plaintiff’s
       Motion for Summary Judgment shall be filed on or before August 2, 2019;

       Federal Defendants’ Reply in Support of its Cross-Motion shall be filed on August 16, 2019.


Dated: ___ day of May 2019




                                                     JUDGE ROSEMARY M. COLLYER
                                                     UNITED STATES DISTRICT JUDGE




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